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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.: 9:20-cv-81175-AHS

   STEVEN UNGER,

          Plaintiff,

   v.

   MAJORCA AT VIA VERDE
   HOMEOWNERS ASSOCIATION, INC.,

         Defendants.
   __________________________________/
              DEFENDANT MAJORCA AT VIA VERDE HOMEOWNERS’
          ASSOCIATION, INC.’S MOTION TO DISMISS THE COMPLAINT AND
                   INCORPORATED MEMORANDUM OF LAW

         Comes         Now,         Defendant           MAJORCA                 AT       VIA         VERDE            HOMEOWNERS’

  ASSOCIATION, INC. (“Majorca” or “Association”), by and through its undersigned counsel, and

  pursuant to Fed. R. Civ. P. 12(b)(6), hereby moves this Honorable Court for entry of an Order

  granting dismissal with prejudice in its favor as to Plaintiff’s, STEVEN UNGER, Complaint [DE

  1], together with the incorporated Memorandum of Law, and in support thereof, states as follows:

                                                         BACKGROUND

         This is an action arising out of allegations of failure to reasonable accommodate a disability

  pursuant to the Fair Housing Act (“FHA”). Plaintiff alleges that he suffers from a physical

  disability which inhibits him from attending Association meetings in person. Compl. ¶10, 13.

  Plaintiff alleges he requested, among other things, recordings and transcripts of the monthly board

  meetings. Id. at ¶21. Initially, the timing of the Plaintiff’s complaint cannot be overlooked. In

  light of the COVID-19 global pandemic, the Association has conducted all board meetings via

  Zoom since March 2020, thus enabling Plaintiff an opportunity to attend Board meetings from the


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                                                  COLE, SCOTT & KISSANE, P.A.
            ESPERANTE BUILDING - 222 LAKEVIEW AVENUE, SUITE 120 - WEST PALM BEACH, FLORIDA 33401 (561) 383-9200 - (561) 683-8977 FAX
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  comfort of his home. Id. at ¶27. Nevertheless, Plaintiff admits the Association’s property manager

  offered him the option of “designat[ing] a set representative by power of attorney to attend

  the meetings for you and then that person may record or take notes as necessary of the Board

  meeting” since the Board does not record its meetings. Id. at ¶22 (emphasis added). Despite the

  clear interactive discussions and efforts to satisfy Plaintiff’s request, Plaintiff claims he was

  somehow denied a reasonable accommodation and brings the instant suit. Id. Additionally, even

  though Plaintiff acknowledges the property manager advised him meeting minutes would be

  placed on the developing community website for all members upon approval at the next board

  meeting, Plaintiff claims this too is somehow a violation of the FHA since the minutes are not

  instantaneously available to him. Id. at ¶23 (alleging access is available “only a month after the

  meeting subsequent to approval at the next board meeting.”). Plaintiff’s claims are wholly

  contradicted by the allegations and exhibits he attached to his pleading and insufficient to create a

  justiciable controversy regarding statutory violations of the Fair Housing Act. Accordingly,

  dismissal of the Complaint is appropriate, as Plaintiff fails to state a cause of action.

                                                  MEMORANDUM OF LAW

         A.          Legal Standard

         In deciding a motion to dismiss, the Court assumes that all of the allegations in the

  complaint are true, and construes all of the facts in favor of the plaintiff. Scott v. Taylor, 405 F.3d

  1251, 1253 (11th Cir. 2005). That said, a complaint must provide more than "labels and

  conclusions" or a "formulaic recitation of the elements of a cause of action" to survive a motion to

  dismiss. Bell Atlantic Corp. v. Twombly, 127 S. Ct. 1955, 1965 (2007). A complaint must state a

  plausible claim for relief, and "[a] claim has facial plausibility when the plaintiff pleads factual




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  content that allows the court to draw the reasonable inference that the defendant is liable for the

  misconduct alleged." Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009).

          “A motion to dismiss for failure to state a claim [generally] tests the sufficiency of the

  complaint.” Hazel v. Schl. Bd. of Dade County, 7 F. Supp. 2d 1349 (S.D. Fla. 1998). A motion to

  dismiss for failure to state a claim will be granted when “‘it appears beyond doubt that the plaintiff

  can prove no set of facts in support of his claim which would entitle him to relief.’” Hazel, 7 F.

  Supp. 2d at 1352 (quoting Conley v. Gibson, 355 U.S. 41, 45-46 (1957)); Mallo v. Public Health

  Trust of Dade Cty, 88 F. Supp. 2d 1376 (S.D. Fla. 2000). It is of great importance that a complaint

  alleges facts properly setting forth the essential elements of a cause of action. Hazel, 734 F. Supp.

  2d at 1352. Federal Rule 12(b)(6) provides that dismissal of a complaint is appropriate “if it is

  clear that no relief could be granted under any set of facts that could be proved consistent with the

  allegations.” Hishon v. King & Spalding, 467 U.S. 69, 73 (1984).

          Additionally, “a copy of a written instrument that is an exhibit to a pleading is a part of the

  pleading for all purposes.” Fed. R. Civ. P. 10(c). “If an exhibit facially negates the cause of action

  asserted, the document attached as an exhibit controls and must be considered in determining a

  motion to dismiss.” Fladell v. Palm Beach Cty., 772 So. 2d 1240, 1242 (Fla. 2000)(citation

  omitted); see also Harry Pepper & Associates, Inc. v. Lasseter, 247 So. 2d 736, 737 (Fla. 3d DCA

  1971)(finding that an exhibit has the “effect of neutralizing each allegation and rendering the

  pleading objectionable” where there are inconsistencies between the general allegations in a

  complaint and the specific facts revealed by the exhibit). Here, in examining the exhibits attached

  to the Plaintiff’s Complaint, the claims are “neutralized” by inconsistencies between the general

  allegations in the Complaint and the specific facts of the exhibit. Moreover, a document outside

  the four corners of the complaint may still be considered if it is central to the Plaintiff’s claims and




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  is undisputed in terms of authenticity. See e.g., Maxcess, Inc. v. Lucent Technologies, Inc., 433

  F.3d 1337, 1340 (11th Cir. 2005); Day v. Taylor, 400 F. 3d 1272 (11th Cir. 2005).

             B.          Plaintiff’s Claim for Failure to Reasonably Accommodate Fails To State A
                         Claim Upon Which Relief Can Be Granted.

             Plaintiff has failed to allege any actions by the Defendant Association that would constitute

  a violation of the federal Fair Housing Act (42 U.S.C. §3601, et seq.). Specifically, 42 U.S.C.

  §3604(f)(3)(B) states:

             For purposes of this subsection, discrimination includes-

             …

                         (B)         a refusal to make reasonable accommodations in rules, policies, practices,
                                     or services, when such accommodations may be necessary to afford such
                                     person equal opportunity to use and enjoy a dwelling;

  See 42 U.S.C. §3604(f)(3)(B) (emphasis added). To state a reasonable accommodation claim

  under the Fair Housing Act, a plaintiff must plead four elements: (1) he is disabled within the

  meaning of the FHA; (2) he requested a reasonable accommodation, (3) the requested

  accommodation was necessary to afford him an equal opportunity to use and enjoy the dwelling,

  and (4) the defendant refused to make the requested accommodation. Schaw v. Habitat for

  Humanity of Citrus County, Inc., 938 F.3d 1259 (11th Cir. 2019). 1

                         1.          Plaintiff Has Failed to Sufficiently Set Forth A Prima Facie Case For
                                     Failure to Reasonably Accommodate.

             The FHA prohibits discriminating against a person on the basis of a “handicap,” or a

  disability, by refusing to make reasonable accommodations when necessary to afford the person

  equal opportunity to use and enjoy a dwelling. Bhogaita v. Altamonte Heights Condo. Ass’n, 765

  F.3d 1277 (11th Cir. 2014). The FHA defines “handicap” as “(1) a physical and mental impairment



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      The Complaint identifies and attaches correspondences requesting an accommodation. See Exhibit A.


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  which substantially limits one or more of such person’s major life activities, (2) a record of having

  such impairment, or (3) being regarded as having such an impairment. . .” 42 U.S.C. § 3602(h).

  Case law indicates that Courts should consider major life activities to include ‘functions such as

  caring for oneself, performing manual tasks, walking, seeing, hearing, speaking, breathing,

  learning and working.’ Peklun v. Tierra Del Mar Condominium Association, Inc., 2015 WL

  8029840 (S. D. Fla. 2015); Hillburn v. Murata Electronics of N. America, Inc., 181 F.3d 1220,

  1226-27 (11th Cir. 1999).

         Plaintiff conclusively alleges that he is handicapped and limited in his ability to walk,

  concluding that he cannot attend meetings himself. Compl. ¶¶10, 13. These are precisely the type

  of deficient and generic allegations that fall below the applicable pleading requirements. See

  Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009) (“Threadbare recitals of the elements of a cause of

  action, supported by mere conclusory statements, do not suffice.”). Importantly, the Complaint is

  entirely devoid of allegations as to how or why Plaintiff’s disability interferes with his ability to

  attend Board meetings. For example, there are no allegations that the place where the Association

  Board meetings are held are not handicap or wheelchair accessible. Accordingly, Plaintiff’s

  Complaint fails to allege sufficient facts to survive a motion to dismiss.

                   2.          Plaintiff Cannot Establish that an Accommodation was Necessary to
                               Afford Plaintiff an Equal Opportunity to Use and Enjoy his Dwelling.

         The Complaint also fails to allege sufficient facts as to how Plaintiff’s requested

  accommodation is “necessary to afford [Plaintiff] equal opportunity to use and enjoy” the relevant

  dwelling. In fact, Plaintiff fails to allege how any other (non-disabled) owner is in a different

  position or is treated differently. A disabled person must show the relationship between the

  person’s disability and the need for the requested accommodation. Sabal Palm Condominiums of

  Pine Island Ridge Ass’n, Inc. v. Fischer, 6 F. Supp. 3d 1272, 1289 (S.D. Fla. 2014).



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         Here, there are no allegations that other (non-disabled) owners receive meeting minutes

  before they are approved, no allegations that Plaintiff would have any ability to vote on or change

  the meeting minutes, no allegations that he was not afforded any equal opportunities that other

  owners have, nor how or why being unable to attend board meetings would have violated his ability

  to use and enjoy his dwelling. Instead, Plaintiff requested that Defendant provide him access to

  unapproved and draft meeting minutes as an accommodation because he is allegedly unable to

  attend the next Board meeting when those meeting minutes would be introduced. Immediate

  access to unapproved meeting minutes is not alleged to be afforded to any other owner, nor is it

  possible based upon the Board’s reasonable practices relating to how they approve and finalize

  their meeting minutes. Rather, the Plaintiff confirms he would have access to the minutes at the

  same time and in the same manner as every other owner – as such minutes would be posted online

  once approved by the Board. See generally Compl. ¶¶22, 23.

         Plaintiff’s requested accommodation to be immediately provided unapproved and/or draft

  meeting minutes is not proper nor necessary for the use and/or enjoyment of his dwelling. Plaintiff

  has wholly failed to plead how he is being treated unequally compared to any other resident instead

  attempting to place himself in a better position than other owners. “The [Fair Housing] Act only

  ensures that the handicapped person is provided an equal opportunity to use and enjoy a dwelling,

  not a better opportunity than members of the surrounding community.” See Schaw, supra. As such,

  Plaintiff’s requested accommodation to be provided meeting minutes immediately after a Board

  meeting would undoubtedly fundamentally alter the nature of the Association’s operations and




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            ESPERANTE BUILDING - 222 LAKEVIEW AVENUE, SUITE 120 - WEST PALM BEACH, FLORIDA 33401 (561) 383-9200 - (561) 683-8977 FAX
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  provide Plaintiff a better opportunity than other members of the community which is not what the

  Fair Housing Act requires of a housing provider. 2

           Further, “to show that a requested accommodation may be necessary, there must be an

  identifiable relationship, or nexus, between the requested accommodation and the individual's

  disability.” Sabal Palm Condominiums of Pine Island Ridge Ass’n, Inc. v. Fischer, 6 F. Supp. 3d

  1272, 1289 (S.D. Fla. 2014). Here, there is no nexus alleged between Plaintiff’s disability and

  early/immediate access to the Board’s draft meeting minutes. Plaintiff instead alleges that “online

  access to the minutes of the HOA meetings is important to [Plaintiff]…” and “online access to

  minutes of the HOA meeting has been made available to residents, but only a month after the

  meeting subsequent to approval at the next board meeting”. Compl. ¶¶14, 23 (emphasis added).

  No such nexus exists between the requested accommodation and the Plaintiff’s disability and no

  allegation indicates how or why the same would be necessary or related. As such, Plaintiff has

  failed to state a cause of action for failure to reasonably accommodate.

                     3.          Plaintiff’s Allegation that Defendant Refused to Make an
                                 Accommodation is Wholly Contradicted by the Allegations and
                                 Exhibits Attached to the Complaint.

           Plaintiff claims that he requested a recording or transcript of the Board meeting, which

  accommodation was rejected by the Association in favor of other options. Compl. ¶13. Notably,

  the law entitles a disabled person only to an accommodation that is reasonable and necessary, not

  to an accommodation of his/her choosing. Weiss v. 2100 Condo. Ass’n, 941 F. Supp. 2d 1337,

  1344 (S.D. Fla. 2013). Here, a review of the Complaint and its Exhibits reveal that Defendant

  never denied Plaintiff’s request for an accommodation. To the contrary, the March 27, 2020



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   Additionally, even assuming arguendo Plaintiff was somehow entitled to this very specific accommodation, which
  he is not, the meeting minutes would be in draft form and subject to change providing either incomplete or inaccurate,
  non-final information.


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  correspondence confirms that the Association granted Plaintiff a reasonable accommodation to

  fully address his inability to personally attend Board meetings. Not only did the Association invite

  Plaintiff to attend board meetings via Zoom along with the rest of the world following the COVID-

  19 outbreak, but the Association further offered Plaintiff the ability to designate any third party to

  record the meetings or attend in his place. See Exhibit B; See also, Exhibit D. 3

           Thus, Plaintiff’s allegations of the Association failing to accommodate his disability is

  flatly contradicted by the very exhibits he attaches to the Complaint. Notably, where an exhibit

  facially negates a cause of action, the document attached as an exhibit controls. Fladell v. Palm

  Beach Cty., 772 So. 2d 1240, 1242 (Fla. 2000)(citation omitted). To be sure, Plaintiff does not

  allege that the Association prevented him from designating a third person, prevented that person

  from recording, or otherwise did anything contrary to the proffered reasonable accommodation.

  Nor does Plaintiff provide any facts to support an inference that the proposed accommodation was

  somehow insufficient to address Plaintiff’s concerns in affording him an equal opportunity as his

  non-disabled peers. As such, the exhibits contradict Plaintiff’s claims that the Association refused

  to reasonably accommodate him and therefore, Plaintiff’s Complaint must be dismissed.

                     4.          Plaintiff’s Claim for Failure to Reasonably Accommodate is Moot.

           The United States Constitution limits the jurisdiction of federal courts to the consideration

  of ‘cases and controversies.’ U.S. Const. Art. III § 3. The doctrine of mootness derives from the

  case-or-controversy limitation because an action that is moot cannot be characterized as an active

  case or controversy. Troiano v. Supervisor of Elections, 382 F.3d 1276 (11th Cir. 2004). The Fair



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    Defendant Association also notes that there are no allegations that the Association prevented Plaintiff’s wife, who
  does not suffer from a disability, from attending board meetings, recording board meetings, or otherwise accessing
  meeting minutes in the same way as other owners. Instead, Exhibit D specifically addresses that Plaintiff’s wife will
  similarly be able to attend (as she always has had the ability to do) including granting her the ability to tape or video
  record the meetings for Plaintiff’s personal use when in person meetings resume. See Plaintiff’s Exhibit D. As such,
  Plaintiff’s claim is entirely moot and should be dismissed.


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  Housing Act does not demand that housing providers immediately grant all requests for

  accommodation. Schwarz, 544 F.3rd at 1219. However, Plaintiff asserts a claim for failure to

  reasonably accommodate on the factually incongruous grounds that Defendant has refused to grant

  his request for reasonable accommodation to be provided with meeting minutes or a recording of

  the meetings because he allegedly cannot physically attend Association meetings. Compl. ¶40.

  Although it may not be precisely the “accommodation” he requested, Plaintiff acknowledges that

  he has access to the meeting minutes online after they are approved. Compl. ¶23. A case is moot

  when the issues presented are no longer “live” or the parties lack a legally cognizable interest in

  the outcome. Troiano, supra.                       Here, Defendant provided Plaintiff with a reasonable

  accommodation - that he could designate any individual to record meetings that he could not attend

  in person and that all other relevant materials requested would be placed on the community website

  for his use and enjoyment. Compl. ¶22. Based on the allegations of the Complaint, it is clear that

  Plaintiff’s claim is entirely rendered moot.

         Furthermore, as alleged in the Complaint, since the beginning of COVID-19, Plaintiff had

  (and still has) access to Board meetings including the ability to attend virtually pursuant to Zoom

  technology along with every other Association member.                                         Nevertheless, because Plaintiff

  experienced technology delays in that he was “kept in the waiting room” at one of the recent board

  meetings, he believes the same serves as sufficient basis to file the instant federal lawsuit.

  Curiously absent from his Complaint is any allegation that Plaintiff informed the Association of

  his inability to enter any Zoom meeting, that he ever complained regarding this inability to enter

  any Zoom meeting, or that he was otherwise denied the ability to attend via Zoom, let alone an




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            ESPERANTE BUILDING - 222 LAKEVIEW AVENUE, SUITE 120 - WEST PALM BEACH, FLORIDA 33401 (561) 383-9200 - (561) 683-8977 FAX
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  allegation that no other Board member had a similar experience with the technology. 4 Instead,

  Plaintiff concludes that because he was allegedly unable to enter the meeting, such conduct must

  have been intentionally (or with reckless disregard) done by the Association to prevent his

  attendance which, he concludes, must have something to do with his disability. Id. at ¶32. Such

  threadbare allegations do not support a cause of action for failure to reasonably accommodate and

  Plaintiff’s claim must be dismissed.

           Of course, due to the fact that all board meetings are being held virtually, Plaintiff’s claim

  is rendered moot as there are no in-person board meetings occurring. Further, there is no fear of

  any issue in the future because, as addressed by Defendant in response to Plaintiff’s requested

  accommodation, a reasonable accommodation allowing a designated third person (or Plaintiff’s

  wife) to record the meetings was indicated to address his concerns relating to in-person attendance.

  Plaintiff’s claim summarily fails.

                                                            CONCLUSION

           In light of the arguments above, Defendant respectfully requests this Court dismiss the

  Complaint with prejudice in its entirety. Here, it is clear on the face of the Complaint, and the

  exhibits attached thereto, that the Association at all times acted within the purview of the Fair

  Housing Act and engaged in an interactive process designed to address Plaintiff’s requested

  accommodation. This Complaint is a disguised effort to merely circumvent compliance with the

  Association’s proffered reasonable accommodations due to Plaintiff’s personal preference.

  Therefore, it is clear that Plaintiff’s Complaint fails to state a claim upon which relief can be



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    In fact, as expressly indicated in Exhibit D to the Complaint, “[a]ll owners received timely notice, as well as
  instructions, on how to ‘attend’ and take part in these virtual meetings. Specifically [Plaintiff and his wife] received
  email notices to the email address they previously registered with the Association.” See Plaintiff’s Exhibit D. Plaintiff
  does not contradict this assertion in his allegations. It is clear that Plaintiff (and his wife) had an equal opportunity to
  attend the meetings, just like every other owner, and that any purported disability limiting Plaintiff’s ability to walk is
  entirely irrelevant and mooted.


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  granted. There simply is no case or controversy at issue here. Plaintiff concedes that he has access

  to meeting minutes online (just not immediately after the meeting- which no resident has an

  opportunity to do), has been provided the same opportunities to attend Board meetings via Zoom

  technology as every other owner, and has been granted the ability to designate any other individual

  to attend and record meetings for his viewing pleasure to accommodate his alleged inability to

  attend in person (which is not the typical practice of the Association).

         WHEREFORE,                  Defendant           MAJORCA                AT        VIA        VERDE            HOMEOWNERS’

  ASSOCIATION, INC., respectfully requests that this Honorable Court enter an Order dismissing

  Plaintiff’s, STEVEN UNGER, Complaint with prejudice for failure to state a cause of action upon

  which relief can be granted, and take such further action as it deems just and proper.

  Dated: September 8, 2020.

                                                      Respectfully Submitted,


                                                                  COLE, SCOTT & KISSANE, P.A.
                                                                  Counsel for Defendant Majorca HOA
                                                                  Esperante Building
                                                                  222 Lakeview Avenue, Suite 120
                                                                  West Palm Beach, Florida 33401
                                                                  Telephone (561) 383-9228
                                                                  Facsimile (561) 683-8977
                                                                  Primary e-mail: rachel.beige@csklegal.com
                                                                  Secondary e-mail: justin.edell@csklegal.com

                                                            By: /s/ Justin D. Edell                              .
                                                                RACHEL K. BEIGE
                                                                FBN: 0016366
                                                                JUSTIN D. EDELL
                                                                FBN: 105105




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                                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 8th day of September, 2020, a true and correct copy of
  the foregoing has been furnished by electronic filing with the Clerk of the Court via CM/ECF,
  which will send notice of electronic filing to all counsel of record.




                                                     By: /s/ Justin D. Edell
                                                         RACHEL K. BEIGE
                                                         Florida Bar No.: 0016366
                                                         JUSTIN D. EDELL
                                                         Florida Bar No.: 105105




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